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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK
_______________________________________________

UNITED STATES OF AMERICA

    -v-                                                             17-CR-116

KENNETH CASSIDY,

                        Defendant.
_______________________________________________


               GOVERNMENT'S RESPONSE TO THE DEFENDANT’S
                     SUPPLEMENTAL AFFIRMATION


        THE UNITED STATES OF AMERICA, by and through its attorney, James P.

Kennedy, Jr., United States Attorney for the Western District of New York, and the

undersigned Assistant United States Attorney, respectfully files this response to the

defendant’s supplemental affirmation.   See Dkt. #66.   Specifically, after receipt of the

defendant’s supplemental affirmation, the government contacted the defendant’s case

manager at Danbury FCI. On May 8, 2020, the defendant’s case manager stated that on May

7, 2020, two inmates were removed from the defendant’s housing unit and placed into

quarantine. One inmate, who tested negative for COVID-19, was the inmate who was two

bunks away from the defendant, and had reported feeling sick for the past two months. The

other inmate, who tested positive for COVID-19, was across the walkway from the defendant

and numerous feet away. Again, both individuals were placed into quarantine on May 7,

2020.
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DATED: Buffalo, New York, May 8, 2020.


                                    JAMES P. KENNEDY, JR.
                                    United States Attorney

                                    S/ AARON J. MANGO
                              BY:   _____________________________
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